Case 1:18-cv-03107-TCB Document 1-6 Filed 06/27/18 Page 1 of 8

 

 

Exhibit 6

 

 

 

MASTER SERV]CES AGREEMENT

'l`his lnt`onnation Technology Senices Agreetncnt (“Agreement") is made this /-3 day of AW/L»ZOIG

("l`:`fl`ective Date”) between Knleo chlmology LLC, a Limited Liability Corpcration, with a principle office at 5174
McGinnis Ferr_v Road, Sulte 109 Alpharetta, Georgin 30041 ("Company"), and PrimeRcvenuc with a principle
office at 1349 West Peachtree Strcct, Suitc 1800, Atlanta, Georgin 30309 (“Customer")r

WHEREAS, Company is engaged in the business of providing a full range of infonnation technology consulting
scivices', and

WHE REAS, Cnstomer desires to retain Company to perl"onn information technology services and functions; and

NOW THEREFORE, in consideration of the mutual promises, covenants and agreements contained herein, the
parties have agreed and do agree as follows: `

go

AGREEMENT

Contractcd Ser\“iccs. This Agrcement shall apply to the delivery of information technology services,
support, and functions as further described in Statements of Worl~: (SOW) that may be proposed and approved
by the parties An_v such approved SOW shall be incorporated herein by reference (the services and functions
described in any SOW are hereafter referred to as the “Services"). ln the event that the scope of the Services is
expanded, revised or modified, for any SOW incorporated herein, the parties shall prepare and sign an
amended or new SOW (or change order), which likewise shall be attached hereto and incorporated herein by
reference Ahscnt the execution of a SOW, this Agreement does not, in and of itself, represent a commitment
by Custciner to receive any Scrvices from Coinpany or pay Company any fees.

Term of Agreement.

(a) 'l`he tenn of this Ag,rcement Will commence on the Effective Date set forth above and will continue until
terminated by either party as provided below ("Ternt”). ln the event that the SOW provides for a
different 'l`eirn, the SOW Term will control for that specific SOW only.

(b) Either party shall have the option to terminate this Agreement, without cause, by providing thirty (30)
days notice of its intent to terminate the Ag;neernent \vithout cause ln the event that a SOW provides for
a different termination notice period, the SOW termination clause will control for that specific SOW
only.

(c} fn the event that there is a continuing need for any Services identified in a SOW, after the expiration of
this Agreement and Ctistorner requests, in writing, to have Cornpany complete the Services, this
Agre'ernent will automatically renew for the period of time that it takes for the completion of such
Services.

(d) The Agreeinent can be terminated for causc, as defined in paragraph l4a herein, at any time provided the
alleged breaching patty is piovided an opportunity to core the alleged breach in the manner set forth in
paragraph 14a below or a Pen'nitted Delay, as defined in paragraph 14a herein, does not apply.

Fees and Pa\-'ment Terms.

(a) In exchange for the Services performed by Cornpany, as set forth in any SOW, Custorner agrees to
compensate Company at the rates identified in the fee schedule set forth in a SOW. Such rates are
exclusive of any federal, state, or local sales or use taxes, or any other taxes or fees assessed on, or in
connection with any of the Services rendered herein Customer will pay all undisputed invoices within
thirty (30) days Of receipt thereof .

 

 

Case 1:18-cv-03107-TCB Document 1-6 Filed 06/27/18 Page 3 of 8

(b) in addition, Custorner shall reimburse Cornpany its actual prcapproved out-oi`~pocket expenses as
reasonably incun'ed by Cornpany in connection with the performance of Seivices. Additional expenses
for niatcn`als, services, training and hardware n'ray only be incurred by Company and charged to
Customer if prior written approval from Custonrer has been obtainedl

(c) A late charge of one and one-half percent (l */z%) per mcnth, or the legal maximum if less, shall accrue
on past due billings unless Custorner notifies Cornpany of a billing dispute in writing prior to the
payment due date. Custorner shall he responsible for any costs incurred by Company in the collection ol`
unpaid invoices including, but not limited to, collection and filing costs and reasonable attorney’s fees of
not less than fifteen percent (lS%) of the outstanding balance drie_

grange Ordcrs or Out of Sconc Servlces. 'l`o the extent that Customer requires or requests additional
services or services that exceed the Services set forth in any SOW incorporated lrereiu, Company will charge an
additional fee for such additional services or out of scope worlt. Fees for such additional services or out ol`
scope work will be set forth on a Change Authorization Order (CAO), which will also provide a description of
the changed or additional service(s) being requested Once a CAO is signed by both parties, it will be
incorporated into the Agreement and have the same legal effect as the SOW that is incorporated into the
Agreernent.

Ownemhln of Materials Rek__a__t_qg_l to Servicerp The parties agree that any materials prepared and delivered by
Cornpany in the course of providing the Services shall be considered works made for hire (“Work Product”).
All rights, titlc, and interests of such Worl< l?roduct shall he and are assigned to Customer as its sole and
exclusive property. Notwithstanding the foregoing the parties recognize that performance of Company
hereunder will require the skills of Con:rpany and, therefore, Cornpany shall retain the right to use, without fee
and for any prrrpose, such general ”know~how", ideas, techniques and concepts used or developed by Cornpany
in the course of performance of the services of this Agreement as retained in the unaided memory of
Conrpany ’s employees

Indepcndent Contractor. The parties enter into this Agreerncnt as independent contractors and nothing
within this Agreement shall be construed to create a joint venture partnership agency, or other employment
relationship between the parties All Cornpany employees who are assigned to perform sendces at any
Customer owned or leased facility shall be considered to be an employee of Company only and will not be
considered an agent or employee of Customei' for any purpose Cornpany will be solely responsible for
payment of all compensation owed to its employees, including all applicable federal, state and local
employment taxes and will make deductions for all taxes and withholdings required by law. ln no event will
any Company employee be eligible for or entitled to any benefits of Custoiner.

Conl'ldcntial Inform ation.

(a) Custonrer understands and acknowledges that Cornpany may1 from time to time, disclose “Coni'rdential
lnforination” to Customcr. For purposes of this Agreement, the tenn "Coni'rdential lni`oimation” shall
include but not be limited to any nonpublic andfor proprietary information or materials relating to
Cornpany`s promotional and/or marketing strategy and activity, Cornpany’s pricing information
(including but not limited to rates, margins, and budgets), Company’s financial and budget information,
Company’s customer lists, information about the edrrcation, background experiencel and/or skills
possessed by Company employees Cornpany employee compensation information Company’s service
andfor sales concepts, Company’s service and/or sales niethodology, Company’s service andfor sales
techniques Cornpany’s customer satisfaction data or sales information, or any information which
Cornpany marks or identities as "ccniidential" at the time of disclosure or confirms in writing as
confidential within a reasonable time (not to exceed thirty (30) days) after disclosurel Custorner will not
disclose Company’s Contidential lnl`orrnation to any third party at any time without the prior written
consent of Company and shall take reasonable measures to prevent any unauthorized disclosure by its
employees agents, contractors or consultants Further, Company’s Confidential lnfoinration shall
include the terms set forth in this Agrcement, all of which shall remain the property of Company and
shall in no event be transferred conveyed, or assigned to Customer as a result of the services provided

 

 

 

 

Case 1:18-cv-03107-TCB Document 1-6 Filed 06/27/18 Page 4 of 8

pursuant to this Agreernent. The foregoing duty shall survive any termination or expiration of this
Agreernent.

{b) Cornpany also understands and acknowledges that Custorner may, from time to time, disclose to
Company proprietary ideas, concepts, exper'tise, and technologies developed by Customer relating to
computer application programrning, installation, and operation, including any Worl< Product
(colleetively “Cnstcmer`s Confidential lnfonnatiorr”). Custonrer may further provide to Conrpany
documentation reports memoranda notes, drawings, plans, papers, r'ecordings, data, designs, nraterials,
or other forms of records or information relating to Custorner’s business operations (collectiveiy
“Confidential 'l`radc lnl`orrnation”), Company agrees (i) not to use any Custorner Corrtidential
Information or Confldential Trade lnfonnation for its own use or for any purpose other than the specific
purpose of completing tire Services‘, (ii) not to' voluntarily disclose any Custorncr Corrfrdential
lnforrnation or Confidential Trade lnfon'nation to any other person or entity', and (iii) to take all
reasonable measures to protect the secrecy of, and avoid disclosure or use of, Customer Corriidential
lni`orniation and/or Confidential 'i`rade Inforrrration in order to prevent it from falling into the public
domain or the possession of persons other than those persons authorized hereunder to have such
Custornor Confrdential lnfonnation and/or Contidcntial Tradc Information. The foregoing duty shall
survive any termination or expiration of this Agrcement.

 

 

 

 

 

(c) ln no event shall the receiving party use the disclosing party's Confrdential lnformation or Confrdential
'l`rade lnfonnation` to reverse engineer or otherwise develop products or services functionally equivalent
to the products or services of the disclosing party.

(d) The following shall not be considered Confrdential Infonnation for purposes of this Agreenrent: (a)
information which is or becomes in the public domain through no fault or act of the receiving party; (b)
information which was independently developed by the receiving party without the use of or reliance on
the disclosing party`s Confidential hrfonnation; {c) information which was provided to the receiving
party by a third party under no duty of confidentiality to the disclosing party; or (d) information which is
required to be disclosed by law with no further obligation of confidentiality, provided, however, prompt
prior notice thereof shall be given to the party whose Confrdential information is involved

(e) The parties agree that the disclosure of any of the foregoing Confidential Information by either party
shall give rise to irreparable injury to the owner of the Coni"rdential lnforination, inadequately
compensable in monetary damages Accordingly, the'nondisclosing party may seek and obtain
injunctive relief against the breach or threatened breach of the foregoing undertak ings, in addition to any
other legal remedies, which may be available

8. Nonsolicitation cf Employecs.
(a) Custorner will not, either directly or indirectly (except through Conrpany) solicit, hire, or contract with

any Company employee during the term of this Agreernent and for a one (l) year period following
termination thereof (hereafter the "Nonsolicitation Term*’). ln the event that Customer desires to directly
hire any Company employee during the Nonsolicitation 'l`erm, Crrstorner must l'rr'st seek Cornpany’s
consent to directly hire the employee and to speak with the Conrpany employee about the employment
opportunityl ln the event that Cornpany grants Custorner the option to directly hire a Cornpany
employee and the Company employee accepts an offer of employment from Customcr, the parties shall
discuss issues related to the employee's transition to Cnstomer. Custorner and Cornpany will mutually
agree upon the employee’s start date in writing Provided the parties agree to the Company employee’s
transition tenns, Customer' shall pay Company a placement fee of no less than ES% of offered salary
prior to the Cornpany employee commencing work as an employee of Custorner. Unless the parties
agree otherwise, Custorner shall not directly hire more than two Cornpany employees during the
Nonsolicitation Term. Generai job postings and the use of third party recruiters shall not violate the
terms of this paragraph S(a) unless done with the intent to circumvent the restrictions of this paragraph
star

(b) During the Nonsolicitation Tcrrn, Company will not, either directly cr indirectly, hire or solicit for
employment/contracting try itself or for other parties any personnel of Customer. General job postings

 

 

Case 1:18-cv-03107-TCB Document 1-6 Filed 06/27/18 Page 5 of 8

and the use of tlrird party recruiters shall not violate the terms of this paragraph S(b) unless done with the
intent to circumvent the restrictions of this paragraph S(b).

'l`his Section 3 is considered a material term that alloer for accelerated termination rights under paragraph 14 of this

Agreernent.

Custcmer Responsihilitics. ln addition to any obligations and responsibilities described in the SOW or
elsewhere in this Agreernent, Custorner shall have shared responsibility with Company regarding the following

(a) 'i`o ensure that the necessary business and application knowledge is available and conveyed from the
Custorner’s existing support team to Company’s support teanr,

(b) Provide ready access to all appropriate computing platfonns, documentation (e.g., program source,
copybooits, tables, subroutirres) and personnel (i.e., end users and technical representatives) necessary to
fully understand the current business systems and environments throughout the life of the engagement

(c) Provide at its facility, office space and equipment for Company’s on-site employees Access will also be
provided to the Custonrer’s source lihraries, test systems, and test data.

(d) Provide external communications capability and/or access to its work facility to enable Cornpany’s on-
site project team to access the Customer’s information technology system for after hours or weekend
Services only as required and preapproved by Customer.

(e) Customer shall assign an employee or representative to be present at the work facility for any after hours
or weekend Services provided by Cornpany. ln the event that Cttslorrrer declines or fails to assign an
employee or representative to be present during such hour‘s, Customer waives any and all claims for any
property damage or loss that occurs during such time that Conrparry’s employee(s) is on the Customer’s
work facility

(t) Provide passwords and job numbers to Cornpany employees as needed

Warran§y of Services. Any warranty offered by Company for Services provided herein shall be set forth in
the SOW. ln the absence of any warranty language in the SOW, Cornpany warrants that ali Services performed
pursuant to this Agreernent will be performed in accordance with the general standards and practices of the
information technology industry in existence at the time the Services are being performed lN THE EVENT
"l`HA'l` THERE lS NO WARRANTY SET FORTH IN THE SOW, 'i`HE FOREGOING EXPRESS LIMITED
WARRANTY IS IN LIEU OF ALL OTHER WARRANTlES AND CONDlTlONS EXPRESSED OR
IMPLIED, ORAL OR WRITTEN, CONTRACTUAL OR STATUTORY, INCLUDING BUT NOT
LMTED 't`O ANY IMPLIED WARRANTIES OF MERCHANTABILITY OR FITNESS FOR A
PARTICULAR PURPOSE TO 'l`l-[E EXTENT APPLICABLE.

ll. Limitation of Liabilitv. Custorner agrees that Company shall not be liable to Custorner, or any third
party, for any liability clairns, loss, damages or expense of any kind arising directly or indirectly out of
services provided herein, provided however, Cornpany shall indetrmify and hold Custon'rer' harmless for
any acts of Conrpany that infringes or otherwise violates any statutory or other rights of any third party in
or to any intellectual property Neither party shall in any event be liable for (l) any incidental or
consequential damages however caused, or (Z)any punitive damages For purposes of this Agreenrent,
incidental or consequential damages shall include, but not be limited to, loss of anticipated revenues,
income, profits or savings ; loss of or damage to business reputation or good Will', loss of customers; loss of
business or fmancial opportunity; or any other indirect or special damages of any kind categorized as
consequential or incidental damages under the law of the State of Georgia, Except for the indemnification
obligations set forth herein, Cornpany’s liability for any damages hereunder shall in no event exceed the
amount of fees paid by Custorner to Cornpany as of the date the alleged damages were incun'ed.

 

 

 

 

 

 

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Case 1:18-cv-03107-TCB Document 1-6 Filed 06/27/18 Page 6 of 8

Irrdcnmitication. Each party shall irrdernnit`y, defend and hold harmless the other, its employees principals
(parurers, shareholders or holders of an ownership interest, as the case may be) and agents, from and against
any third party claims_. demands, loss, damage or expense relating to bodily injury or death of any person or
damage to real and/or tangible personal property directly caused solely by the negligence or willful conduct of
the indemnifying party, its personnel or agents in connection with the performance of the Services hereunder.
To receive the foregoing indemnities, the party seeking indemnification must promptly notify the other in
writing of a claim or suit and provide reasonable cooperation (at the indemnifying party's expense) and full
authority to defend or settle the claim or suit. The indemnifying party shall have no obligation to indenmify the
indemnified party under any settlement made without the indemnifying party's written consent

Eaual Opportunitv E_n__rplovcr. Cornpany is an Equal Opportunity Employer and does not discriminate in
recruitment, hiring, transfer, promotion, compensation development, and termination of its employees on the
basis of race, eoior, sex, age, marital status, national origin, handicap, religious beliefs, veter'an’s status or other
protected category as required by applicable Federal, Statc and local laws. Customer likewise represents that it
will not discriminate in the referral or acceptance of Consuitants hereunder on the basis of race, color, ser:, age,
marital status, national origin, lrandicap, religious betiefs, veteran's status or other protected category as
required by applicable feder'ai, state and local laws

(a) Tennination for Cause: lf either party beiieves that the other party has failed in any material respect to
perform its obligations under this Agreerrrent (including any Exbibits or Arnendments hereto), then that
party may provide written notice to the other party’s management representative describing the alleged
failure in reasonable detail lt the alleged failure relates to a failure to pay any sum due and owing under
this Ag.reement or if Custonrer makes an unauthorized solicitation of a Company employee under the
provisions of paragraph eight (8) herein, the breaching party shall have ten (10) business days after
notice of such failure to cure the breach lt the breaching party fails to cure within ten (lO) business
days, then the non-breaching party may immediately terminate this Agreement, in whole or in pan, for
cause by providing written notice to the management representative of the breaching party. With respect
to all other defaults, if the breaching party does not, within thirty (30) calendar days after receiving such
written notice, either (a) cure the material failure or {b) if the breach is not one that can reasonably be
cured within thirty (30) calendar days, then the non-breaching party may terminate this Agreement, in
whole or in part, for cause by providing written notice to the management representative of the
breaching party

(b) Tenninatr'on for Banknrptcy: Either party shall have the immediate right to terminate this Agreerucnt,
by providing written notice to the other party, in the event that (i) the other party becomes insolvent,
enters into receivership, is the subject of a voluntary or involuntary bankruptcy proceeding or makes an
assignment for the benefit of creditors; or (ii) a substantial part of the other party’s property becomes
subject to any levy, seizure, assignment or sale for or by any creditor or government agency

(c) Payments Due; The termination of this Agreement shall not release either party from the obligation to
make payment of all amounts then or thereafter due and payablel

(d) Peimitted Delavs: Each party hereto shall be excused from performance hereunder for any period and to
the extent that it is prevented from performing any services pursuant hereto in whole or in par't, as a
result of delays caused by the other party or an act of God, or other cause beyond its reasonable control
and which it could not have prevented by reasonable precautions including failures or fluctuations in
electric power, heat, light, air conditioning or telecommunication equiprnent, and such nonperformance
shall riot be a default hereunder or a ground for termination hereof. Company’s time of performance
shall be enlarged, if and tc the extent reasonably necessary, in the event (i) that Custorner fails to
submit infonnation, instructions approvals, or any other required element in the prescribed form or in
accordance with the agreed upon schedules; (ii) of a special request by Custoiner or any governmental

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Case 1:18-cv-03107-TCB Document 1-6 Filed 06/27/18 Page 7 of 8

agency authorized to regulate, supervise, or impact Company`s normal processing schedule; (iii) that
Customer fails to provide any equipment, software premises or performance called for by this
Agreement, and the same is necessary for Company’s performance hereunder. Company will notify
Customer of the estimated impact on its processing scheduie, if any. ,

Continuation of Services: Conipany will continue to perform Services during the notice period unless
otherwise mutually agreed upon by the parties in writingl in the event that Custorner'provides the notice
of termination and directs Company not to perform the services through the notice period, Customer
agrees to pay Compnny for the Services rendered prior to the commencement of the notice period Upon
termination by either party, Customer will pay Company for all services performed and charges and
preapproved expenses reasonably incurred by Cornpany in connection with the Services provided under
this Agr'eernent through the date of termination

15. Compliance with Laws. Company warrants that it is and shall remain in compliance with (l) ail

applicable state and federal laws, including without limitation, antitrust anti~money laundering7 anti-
ten'orism, privacy, or similar laws, and (2) international ami-corruption laws, including the U.S. Foreign
Corrupt Practices Act. Company further warrants that neither it, nor any of its subsidiaries (if appiicable),
its directors and officers or, to the best of its knowledge (after due and careful inquiry), any affiliate, agent
or employee of such party or any of its subsidiaries has violated or is violating any applicable economic
sanctions laws, regulations embargoes or restrictive measures administered enacted or enforced by the
United States government or any agencies thereof

16. Misccllaneous Clauses:

(=1)

(b)

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(d)

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Non-Restiictive Relationshig. Company may provide the same or similar services to other customers
and Customer may utilize other information technology service providers that are competitive with

Cornpany .

Waiver. 'l`he rights and remedies provided to each of the parties herein shall be cumulative and in
addition to any other rights and remedies provided by law or otherwise Any failure in the exercise by
either party of its right to terminate this Agreement or to enforce any provision of this Agreenient for
default or violation by the other party shall not prejudice such party’s rights of termination or
enforcement for any further or other`s default or violation or be deemed a waiver or forfeiture of those
rights

Force Majeure. Neither party will be liable to the other for failure to perform its obligations hereunder if
and to the extent that such failure to perform results from causes beyond its control, including and
without lirnitation: strikes lockouts, or other industrial disturbances; civil disturbances', tires', acts of
God‘, acts of a public enemy; compliance with any regulations order, or requirement of any
governmental body or agency; or inability to obtain transportation or necessary materials in the open
market

Notices. All notices required under or regarding this Agreement will be in writing and will be
considered if delivered personally, mailed via registered or certified mail (retnm receipt requested and
postage prepaid), given by facsimile (confnmeti by certification of receipt) or sent by courier (confirmed
by reoeipt) addressed to the following designated parties

lt` to Cornpany: lf to Customer:

Kaieo Technology LLC PrirneRevenue

Attention: At‘tention: General Counsel

5174 McGinnis Feny Road, Suitc 109 1349 West Peachtrce Street, Suite 1800
Alpharetta, Ga. 3004l - Atlanta, Ga. 30309

Severabilig. lf any tenn or provision of this Agreernent is held to be illegal or unenforceable the
validity or enforceability of the remainder of this Agreernent will not be affected

 

 

 

 

Case 1:18-cv-03107-TCB Document 1-6 Filed 06/27/18 Page 8 of 8

{t) Cagtions. 'i`he section headings in this Agreement are intended solely for convenience of refeience and
shall he given no effect in the construction or inteiptetation of this Agreeinent.

(B) EDQLM.B_LYBL§HL Thi$ Ag;reenient and the SOW(s) and/or CAO(s) incorporated herein constitute the
entire agreement between the parties and supersede any prior or contemporaneous cornnnlrn'canonsl
representations or agreements between the parties, whether oral or wn`tten, regarding the subject matter
of this Agreement.

(h) Arnendznents. This Agreernent and the Exhibits may be amended cady by an instrument in writing
executed by the parties hereto. Any written work order submitted by Custoiner shall not amend the
terms of this Agreement and witt onlyr be considered (l) a statement of the work to be performed; (2) set
foith any deadlines or schedules; and (3) the additional fees to be charged, if any, for any out of scope
work or se:vices stated on the work order.

(i) Agpiicable Law. This Ag;reement is made under and will be construed in accordance with the law of
Georgia without giving effect to that state‘s choice of law rules The forum for any dispute or litigation
arising out of this Agzeenient shall be in the Courts of Connnon Pieas of Fulton County Court or in the
Northcrn District of Georgia federal courtl

(i) Successols and 'I`hird Partv Beneticiaiies. This Agreement shall inure to the benefit of Company and
Cnstomer and any successors or assigns of Company and Cnstomer, No third partyr shall have any rights
hereunder.

IN WIINESS WHEREOF, the parties have executed this Agreement as of the date first
above Written_

 

 

/3 zero
Name / Title Date
PrimeRevenue
Name / Title Date

 

